Appellate
       Appellate
          Case: 23-1135
                 Case: 23-1135
                           Document:
                                Document:
                                     010110857989
                                           9 Date Filed:
                                                   Date05/10/2023
                                                         Filed: 05/10/2023
                                                                       Page: 1Page: 1



                               UNITED STATES COURT OF APPEALS
                                    FOR THE TENTH CIRCUIT

       ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                            PARTIES

     DARLENE GRIFFITH


     v.                                                          Case No. 23-1135
     EL PASO COUNTY, COLORADO, et al.

                       ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 Darlene Griffith
 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________

 Plaintiff/Appellant
 ____________________________________________________, in the above-captioned case(s).
          [Appellant/Petitioner or Appellee/Respondent]


 Andy McNulty                                             Mari Newman
 ______________________________________                   ______________________________________
 Name of Counsel                                          Name of Counsel
 /s/ Andy McNulty
 ______________________________________                   /s/ Mari Newman
                                                          ______________________________________
 Signature of Counsel                                      Signature of Counsel
 1543 Champa St., #400, Denver, CO 80202 (303) 571-1000   1543 Champa St., #400, Denver, CO 80202 (303) 571-1000
 ______________________________________                   ______________________________________
 Mailing Address and Telephone Number                     Mailing Address and Telephone Number
 amcnulty@kln-law.com
 ______________________________________                   mnewman@kln-law.com
                                                          _____________________________________
 E-Mail Address                                            E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
Appellate
       Appellate
          Case: 23-1135
                 Case: 23-1135
                           Document:
                                Document:
                                     010110857989
                                           9 Date Filed:
                                                   Date05/10/2023
                                                         Filed: 05/10/2023
                                                                       Page: 2Page: 2




       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.



 _________________________
 Date
 /s/ Andy McNulty
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
Appellate
       Appellate
          Case: 23-1135
                 Case: 23-1135
                           Document:
                                Document:
                                     010110857989
                                           9 Date Filed:
                                                   Date05/10/2023
                                                         Filed: 05/10/2023
                                                                       Page: 3Page: 3



                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         ✔
                All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On ____________________________ I sent a copy of this Entry of Appearance
                             [date]
 Form to:
 Nathan Whitney; Terry Sample, Chris Strider
 ______________________________________________________________________________

   nathanwhitney@elpasoco.com; terrysample@elpasoco.com; chrisstrider@elpasoco.com
 at____________________________________________________________________________,

                                             email
 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 _________________________
 Date

 /s/ Andy McNulty
 _______________________________________
 Signature




                                                    3
